       Case 1:09-cr-00120-JL   Document 13    Filed 08/18/09   Page 1 of 2




                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIR E



United States of America

           V.                            Criminal No . 09-cr-120-02-J L

Jonathan Lara



                                 O R D E R



     The assented to motion to reschedule jury trial (document no .

12) filed by the defendant is granted in part ; the continuance is

granted to the two-week period beginning November 3, 2009 . Final

Pretrial is rescheduled to Wednesday, October 21, 2009, 3 PM .

     Defendant shall file a waiver of speedy trial rights within 10

days . The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U .S .C . § 3161 (h) (8) (B) (iv) ,      for th e

reasons set forth in the motion .

      SO ORDERED .                            /
                                             (/   K


                                         Joseph N . Laplant e
                                         United States District Judg e

Date : August 18, 200 9




cc : Paul Garrity, Esq .
      Jennifer Davis, Esq .
      U .S . Marsha l
      U .S . Probation
Case 1:09-cr-00120-JL   Document 13   Filed 08/18/09   Page 2 of 2
